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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
In re:
                                                                     Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al.,1                                                             (Jointly Administered)

                                    Remaining Debtors.


MICHAEL GOLDBERG, in his capacity as
Liquidating Trustee of the WOODBRIDGE
LIQUIDATION TRUST,
                                                                     Adversary Proceeding No. 19-51027
                           Plaintiff,                                (JKS)
         v.

KENNETH HALBERT,
                                    Defendant.


                               NOTICE OF SERVICE OF DISCOVERY

         PLEASE TAKE NOTICE that on the dates set forth below, plaintiff Michael Goldberg,

in his capacity as Liquidating Trustee of the Woodbridge Liquidation Trust, served the following

documents (the “Discovery”) upon defendant Kenneth Halbert:

         1.       Plaintiff’s Initial Disclosures

         2.       Plaintiff’s First Set of Interrogatories to Defendant Kenneth Halbert

         3.       Plaintiff’s First Set of Requests for Admission to Defendant Kenneth Halbert

         4.       Plaintiff’s First Set of Requests for Production Propounded to Defendant Kenneth

Halbert




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         The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
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       The Discovery was served by Electronic Mail on February 14, 2022, and by first class

mail on February 15, 2022, at the following addresses:

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 Dated: February 16, 2022              PACHULSKI STANG ZIEHL & JONES LLP
        Wilmington, Delaware
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                                       -and-

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